                                                         Exhibit A to the Complaint
Location: Brooklyn, NY                                                                             IP Address: 71.105.158.140
Total Works Infringed: 124                                                                         ISP: Verizon Fios
 Work      Hashes                                                                UTC        Site          Published     Registered   Registration
 1         Info Hash:                                                            04-29-     Blacked       04-12-2021    04-27-2021   PA0002288983
           44B4AD7A047450E82E78476BCCB6F743AF7FA21A                              2021       Raw
           File Hash:                                                            18:17:37
           E48373889E5E612D0D275BAC65055D7D7DD02A206477BFBFBB7A7BD185C34BDF
 2         Info Hash:                                                            03-18-     Blacked       03-15-2021    03-22-2021   PA0002282515
           1824034C43267AA11198E469DBB79B913395F5FE                              2021       Raw
           File Hash:                                                            13:07:26
           76ACEB0964E0FBDF7535C99F405DC85A8F13DF4C35810F11890C0E5815A50F07
 3         Info Hash:                                                            02-25-     Blacked       02-22-2021    03-08-2021   PA0002280371
           FBE49321D58C71912B3CE9DD0A2AA7E4F2205252                              2021       Raw
           File Hash:                                                            19:04:19
           94D17E7894AD3715882A76F5B0396AAD161FA372C0D1A2DFB0BEDFD6E57951A1
 4         Info Hash:                                                            02-23-     Blacked       02-06-2021    03-08-2021   PA0002280372
           D2CF6E99BBB564D07C593CF70C4E61A2B2E57EBF                              2021
           File Hash:                                                            22:48:58
           C4E05E6C41CA90FD23441A06B908093A3FA7DC9C9750A042FFC64BF2402AF00E
 5         Info Hash:                                                            02-21-     Blacked       02-01-2021    02-09-2021   PA0002276143
           37421282F85B17E30318E8303DE6C569C81A9D7C                              2021       Raw
           File Hash:                                                            13:51:33
           BD36E73379371BF1A57C7E59A128B19A3C9593C11C67A2EB38A104F18DBFBA57
 6         Info Hash:                                                            02-14-     Blacked       01-11-2021    02-26-2021   PA0002283703
           747D3FC7E024B3165FFCC028FBD37CBE09D1B640                              2021       Raw
           File Hash:                                                            18:08:33
           B0D40E41F0DC9D5094ADFC31E36D551DA13B07625F4C9F1E1CF922851D82B78D
 7         Info Hash:                                                            02-07-     Blacked       12-28-2020    01-05-2021   PA0002269956
           A278283F6272E595F38E1631666A571E1114F8EA                              2021       Raw
           File Hash:                                                            05:31:50
           02D0C4A55A052D2EFCF4F9B06BEBCDC4108ECB4629B42B3582FE28BE02657604
 8         Info Hash:                                                            02-07-     Blacked       01-04-2021    02-02-2021   PA0002280514
           D90661C4EAF703AD571420CB0E7B68DA96A83C8F                              2021       Raw
           File Hash:                                                            05:09:17
           EC6D90A123469F683033BF6383B5F9752EA070551E408220A225B6352EE6E9B6
Work   Hashes                                                             UTC        Site      Published    Registered   Registration
9      Info Hash:                                                         01-23-     Blacked   01-18-2021   02-09-2021   PA0002276148
       CBEC46459AE533CA84B9B04B6112A56ECA06279B                           2021       Raw
       File Hash:                                                         03:47:18
       230D3F95B666FD506C2CD0E1859CAD4F2BDE3DFF5C8BB975B0C1F971338FBB5D
10     Info Hash:                                                         01-23-     Blacked   01-16-2021   02-09-2021   PA0002276150
       B91028F8FF97039F1DAFE23A651DD879FECDF3FD                           2021
       File Hash:                                                         03:43:38
       CB9112CB07BAF880B77458D88729F588795B7810DF571C7442A04A4BE49F5EB3
11     Info Hash:                                                         01-15-     Blacked   11-23-2020   12-09-2020   PA0002274806
       E40E95D26E54946C5441D1E25AA733CE27D83F25                           2021       Raw
       File Hash:                                                         19:55:06
       98E30D930D1DF01CD65CDE701D5F8D5764B7B60DE87B85A36121496952934CA3
12     Info Hash:                                                         12-27-     Blacked   12-21-2020   01-05-2021   PA0002269958
       08E4516F2B10B7116E9DFDC23BAD089C16D51A99                           2020       Raw
       File Hash:                                                         23:35:45
       59CC496DF2C8E95867635AE3E980F1431D87E8711786E031BF179B341324DF38
13     Info Hash:                                                         12-27-     Blacked   10-26-2020   11-18-2020   PA0002272624
       0E6AC56A6AA9D4A9F0D3F9481087369B8E69B747                           2020       Raw
       File Hash:                                                         23:15:34
       4F818C3B64339FD173AE87F2B923B1F43CE182F2072404141702E784E3BEE5B2
14     Info Hash:                                                         12-21-     Blacked   06-04-2019   07-17-2019   PA0002188309
       E6683078F639AE7A581BCADF96A49BC808143689                           2020
       File Hash:                                                         01:30:14
       38205F001C261D5FD79FC2A35134BB96F8E549E9C410643AF6D25CD576A53DA6
15     Info Hash:                                                         12-10-     Blacked   12-07-2020   12-28-2020   PA0002269082
       DB0A6C09AFAD8158D7C66AA690789A4FFF1E420F                           2020       Raw
       File Hash:                                                         13:17:26
       16C7BFE26C8FD0235DF2F746F947F27F88764464E2AA3A5129A6ADAA2B4B8F67
16     Info Hash:                                                         12-04-     Blacked   11-30-2020   01-04-2021   PA0002277037
       93B327A8C48936A0E4EE9E25BA5D92239B7F914E                           2020       Raw
       File Hash:                                                         02:51:13
       00569396D8A24122745102BDD317673CF22263E245479FF762519E19B818C9C2
17     Info Hash:                                                         11-22-     Blacked   11-16-2020   11-30-2020   PA0002266360
       41DF17AA331A3CE75E9CA818EDC75D225D44E4AE                           2020       Raw
       File Hash:                                                         02:03:23
       A5C52D68CAB30DA1E566E7B990744FEB2669056CB56609CEFE131E17C64CA303
Work   Hashes                                                             UTC        Site      Published    Registered   Registration
18     Info Hash:                                                         11-09-     Blacked   11-02-2020   11-24-2020   PA0002265968
       0A699E8DDCF38F52A506691FA48FF66EA86A15B4                           2020       Raw
       File Hash:                                                         14:58:23
       45A5C9627F189D2582974B07D3278C696CDE2303599C7BBE1BDECE8D3AA56564
19     Info Hash:                                                         10-28-     Blacked   10-24-2020   11-05-2020   PA0002263386
       3818467D5DC9DDB317735107C4146CBB3C456751                           2020
       File Hash:                                                         02:32:04
       76CC20D3E9FC939ED897DF2598478477E80E3E647195FEC6250C8664D38F8A3E
20     Info Hash:                                                         10-12-     Blacked   08-18-2017   10-10-2017   PA0002086146
       84C01FA0E5D76CA23530990E9E685C47C10169FC                           2020
       File Hash:                                                         00:54:18
       75539A0A00EA399EDB08F2C79114228F50DEAE1B3C92E0F80E79F2B973D9EF75
21     Info Hash:                                                         10-12-     Blacked   10-10-2020   10-22-2020   PA0002261812
       AC0797D21F42B3363930AB90674B243D26BE7476                           2020
       File Hash:                                                         00:27:11
       C2884F21FFD7B585B594DD011A368E02E02754736805E2406DE854596FDB30DB
22     Info Hash:                                                         09-30-     Blacked   09-21-2020   09-29-2020   PA0002258687
       E9496BC1B3013589D4AAC0C8EFCDE5692E10F62E                           2020       Raw
       File Hash:                                                         20:43:23
       5E469E53EAEF0563C2A211A763A0AA5FD3181F9C701827199E0B4BBB8B4A2C86
23     Info Hash:                                                         09-20-     Blacked   09-19-2020   09-29-2020   PA0002258681
       E2CA4D4217E8E7EDD519E8CC21101219F0611D8A                           2020
       File Hash:                                                         23:17:46
       DCBE041407D9045781E5318840AEAEEE2E846C4FDB72FA4FF168C59CEC30F0EA
24     Info Hash:                                                         09-10-     Blacked   08-24-2020   09-05-2020   PA0002255474
       15703C64531B7F3820339C06473B13AB5FC50979                           2020       Raw
       File Hash:                                                         11:34:12
       D4CCC3F901BCC7E6E808078BDD2C1A5A072F48CB12874A84763DB3794B0A7FDD
25     Info Hash:                                                         09-10-     Blacked   08-31-2020   09-05-2020   PA0002255473
       97034278B4AE0281DFA31CB3DC5D5A0943B18F5F                           2020       Raw
       File Hash:                                                         11:34:02
       919E33445946B2E47A9223CBBA2E2666E8F11A358771039219D7B4160EB14A31
26     Info Hash:                                                         09-10-     Blacked   08-17-2020   09-05-2020   PA0002255472
       1F20D6A7008B7CCEC3410A20EFACC4AC55CEAADC                           2020       Raw
       File Hash:                                                         11:31:43
       9A1A9C2782555622990015C592A6BA55BE742A35B3ACE638D920D2A4A3D2B1E9
Work   Hashes                                                             UTC        Site      Published    Registered   Registration
27     Info Hash:                                                         09-10-     Blacked   09-07-2020   09-29-2020   PA0002258685
       0857AC88A2AD48128120CAF4BDA8D559837E170C                           2020       Raw
       File Hash:                                                         02:59:43
       51126765E94F677A250CCAA10E87A60ED0D7D9BD2DE01EA6D87127DF695C9E1D
28     Info Hash:                                                         09-10-     Blacked   08-10-2020   08-18-2020   PA0002253097
       64F7CDCF78491EF68C931ED73053A08344F3478C                           2020       Raw
       File Hash:                                                         02:46:18
       1F74F5E1BB05CE6B3F999121014EF29203463875179508D9729AD03DBBF7B67B
29     Info Hash:                                                         08-27-     Blacked   10-07-2017   10-19-2017   PA0002058300
       E4BB4B0185636612E25A2955F474B4494789F63C                           2020
       File Hash:                                                         02:33:27
       89DDF1A6DB1857E9F90A14657B3789775E0CF42192B4507679645F2FAFAE8B84
30     Info Hash:                                                         08-09-     Blacked   08-03-2020   08-31-2020   PA0002265631
       C8EA4C81D0BA9146B21C99E49FA2B67803572522                           2020       Raw
       File Hash:                                                         19:24:47
       2DE5971985FC32A984C05282A04F1E1B8836147FF59C47D553CCC202657C6ABC
31     Info Hash:                                                         08-06-     Blacked   06-15-2020   07-17-2020   PA0002248596
       93AC77760BE262244F8C30B7A064ACFD0E95E6CE                           2020       Raw
       File Hash:                                                         02:22:04
       FBAE5708BFF78E82C93645127539E317BF61BF277C83A6EFE162EE772C4C01B9
32     Info Hash:                                                         08-03-     Blacked   08-01-2020   08-11-2020   PA0002252255
       70F50AFA3EA776978DDA89056394C76F329E76FD                           2020
       File Hash:                                                         00:48:44
       622C928A86D45B2F977C5E2EAB950E3D251C729EB4D6886E037E802F79A9FB7F
33     Info Hash:                                                         07-29-     Blacked   07-13-2020   07-20-2020   PA0002248963
       633C61C8C943824C1FF5E8E3107FBA4396A8E399                           2020       Raw
       File Hash:                                                         02:28:16
       5A31EAC85A367E7A384C7E6E14BE4BD021E487171F4A91616E348962A2353AE1
34     Info Hash:                                                         07-29-     Blacked   07-11-2020   07-20-2020   PA0002248959
       7625B77166EDE28E8265E368E93FE18A92A73B39                           2020
       File Hash:                                                         02:24:49
       BE70F44E12C12DCBF75E876364FD8ECA3CC1D6C97347B375868989AF907617C2
35     Info Hash:                                                         07-29-     Blacked   07-25-2020   08-11-2020   PA0002252256
       6A0E4F47E6B770D53A96234596721B9EB309ABC5                           2020
       File Hash:                                                         02:11:17
       7C515B5F023A5BB71D35A3A323BAC5736B51C521139A3189D8D070EAF8E0997A
Work   Hashes                                                             UTC        Site      Published    Registered   Registration
36     Info Hash:                                                         07-29-     Blacked   07-27-2020   08-11-2020   PA0002252262
       9EF1697DACB071381C0A2D332FA66FA85F359C74                           2020       Raw
       File Hash:                                                         02:00:06
       66F290059B0AF3622E0841D66009807CC8CCA6EE29AF736E370C18BABC4C4885
37     Info Hash:                                                         07-22-     Blacked   06-20-2020   07-17-2020   PA0002248594
       9B1525C6B7210422F8B2A4D859C19244377A5D8D                           2020
       File Hash:                                                         16:32:52
       480522646C863D5D3557EFBCF318A9E1726E6DBE75B70E1C7FBEC11EA1246F11
38     Info Hash:                                                         07-21-     Blacked   07-20-2020   08-11-2020   PA0002252263
       2294A414D64D9AA31D08C144CF4D104631A7BEF9                           2020       Raw
       File Hash:                                                         21:34:56
       4BC166B220C589E13AA09A8778779D95155F0AEE33FE2033B06D11C826B8C9F9
39     Info Hash:                                                         07-03-     Blacked   06-29-2020   07-17-2020   PA0002248598
       F3D4D2BA3F7C9DB5E751343237B5C323D5202A8A                           2020       Raw
       File Hash:                                                         17:07:15
       932CAD793217FBA3E070305DD1F146DAC984F9D642FFDEAF144527040F11B8D9
40     Info Hash:                                                         06-09-     Blacked   04-20-2020   05-19-2020   PA0002241477
       EEA471AC58E44D8C08CE5F008CA4FCB8A1BC3DBE                           2020       Raw
       File Hash:                                                         02:03:07
       735FE6B829D412D28DFC82EBD327201FA1C37D6BF60692C929223A8CFB3F447E
41     Info Hash:                                                         06-09-     Blacked   06-08-2020   06-25-2020   PA0002255509
       D5F4FB8FCDC46608550AC886C7AB2D47C52254F2                           2020       Raw
       File Hash:                                                         01:50:40
       027F02F7A9D43E3B88A373666E52FDD7093112A0F5DA238075344F333F9B68E7
42     Info Hash:                                                         06-07-     Blacked   06-01-2020   06-25-2020   PA0002255508
       C365EDC953D797CA01D422202C581C63038E85E6                           2020       Raw
       File Hash:                                                         02:23:14
       5F6E1DB1A34359A4F2BFE52EAE2A41C32A97E315F2FC36631D0136951F9CCC28
43     Info Hash:                                                         06-07-     Blacked   06-06-2020   06-22-2020   PA0002245636
       E49E0364E268A9E3043E517029F339255C11DB17                           2020
       File Hash:                                                         02:20:45
       F89F1A1C07D1A0B1E380AF4DFD89E8949DEACA935F71933FA17C3D34924AA2CB
44     Info Hash:                                                         06-03-     Blacked   05-16-2020   06-22-2020   PA0002245639
       CA5CDC908938D43DBDC0822505449EE352C2A5E3                           2020
       File Hash:                                                         03:40:06
       C1989360CB00041C7DF61700B88E84563F906D9EA71DB8B980D38D39D17ECE05
Work   Hashes                                                             UTC        Site      Published    Registered   Registration
45     Info Hash:                                                         06-01-     Blacked   05-25-2020   06-22-2020   PA0002245633
       0A52BC8A79C6062CF2AE62919361F3ED6FF769B6                           2020       Raw
       File Hash:                                                         01:47:16
       A6339DD21414DE2172DBA6DA9605EC7215B272BACB9DD06325999B3124B1AF9C
46     Info Hash:                                                         05-31-     Blacked   06-14-2019   07-17-2019   PA0002188312
       6B99D7888151D0DF63F02064FA56A21363DA8C96                           2020
       File Hash:                                                         23:34:11
       82A7BC37315577F4D87CC9E1719E1C30EB0FA435768F3384B48E5F88AED32F20
47     Info Hash:                                                         05-31-     Blacked   12-13-2018   02-02-2019   PA0002154971
       ECFEC3C1CEA5BACDED5052AB2E57DEAAD83FFF39                           2020       Raw
       File Hash:                                                         23:28:04
       BF2324E563299B843D750C225AA4713748F774270CACA8F99C61C55B55BEC599
48     Info Hash:                                                         05-31-     Blacked   05-18-2020   06-08-2020   PA0002243644
       96127ED926E5751F78E60FF117D75F59E918CF27                           2020       Raw
       File Hash:                                                         23:05:47
       3313A2993842C3CF965B06B55DFCB0348C061AE23EE7F1B73DFA0DD56BC67635
49     Info Hash:                                                         05-24-     Blacked   05-23-2020   06-22-2020   PA0002245638
       9E44731E8EC3B6FD476E0A33695303251A58C476                           2020
       File Hash:                                                         02:30:37
       6E310240066A7148AF3E41F974E2DF798485CC20CD9169B21ACB3B29F1F08140
50     Info Hash:                                                         05-12-     Blacked   05-11-2020   06-08-2020   PA0002243646
       062215626C7F3ABD8EAF39A7230075DD43CF13A7                           2020       Raw
       File Hash:                                                         03:06:44
       7C0286924589063E7ED5B4F32A997B453151535C4F676F0D1E25A63F9E5C14FC
51     Info Hash:                                                         05-01-     Blacked   04-27-2020   05-19-2020   PA0002241476
       FB957BE898DADD1186C0FBB70DB37E77ECE5DB1A                           2020       Raw
       File Hash:                                                         03:30:18
       CCAEE38FA77AF2583E0D24BB6FDDE76B89ED6A93A5DE0DA59C65887835A13ED7
52     Info Hash:                                                         04-25-     Blacked   01-25-2018   03-02-2018   PA0002104748
       2DB0092A8EED28CD52AA6DD3FB848B68C75B8F77                           2020
       File Hash:                                                         03:29:53
       A0AAFA709D58361236376E333AA20DAFED8EE64CD3F5151853A6448C2549C8CA
53     Info Hash:                                                         04-24-     Blacked   11-03-2017   12-04-2017   PA0002098024
       739EB8A76A0350F7CA58F6464551E732BCED35C1                           2020       Raw
       File Hash:                                                         13:28:06
       9C6B9B36908FCF9D85FC6E69FB679F920DF5FBC01DEB1C565E84E0A9D1406806
Work   Hashes                                                             UTC        Site      Published    Registered   Registration
54     Info Hash:                                                         04-14-     Blacked   04-11-2020   04-22-2020   PA0002237696
       6ABA9CF9E4EBF6B07494AD041CFADF9F248F2933                           2020
       File Hash:                                                         16:05:52
       C8C6F22464849C0C0886B6FA6C624CECB7FEC5801EF97EBC00EB918B7D1D2B43
55     Info Hash:                                                         04-14-     Blacked   04-13-2020   04-22-2020   PA0002237695
       F9868546BBF9264CB4609B0C107CBE45ACA74091                           2020       Raw
       File Hash:                                                         16:02:54
       6BF10EE11AF1973ADB109573502645CC2728A0B4627C4B292E438948214CDE5F
56     Info Hash:                                                         04-08-     Blacked   04-06-2020   04-17-2020   PA0002237306
       28B8B31C792F1CA34A908834F37BBD4399E80A0C                           2020       Raw
       File Hash:                                                         05:28:37
       FF460F609C0680B6B4BD70DC2BE94C1ADA2A5BF2DF66C005BAEE0A1C35D407AD
57     Info Hash:                                                         04-03-     Blacked   03-30-2020   04-17-2020   PA0002237303
       D219BAB5952D811FAFCC1EDAB575DDF6D85E53F5                           2020       Raw
       File Hash:                                                         12:48:06
       0F315F698B5C31BC42963088D00BB4A14C65FDEA892AD766BB6779059EA59C5E
58     Info Hash:                                                         03-26-     Blacked   03-23-2020   04-17-2020   PA0002246101
       FE5B9EFC4BF17A8689721558696ED93FCC6EB9E2                           2020       Raw
       File Hash:                                                         01:23:21
       8E0DCB59EE4296031AE1C10776D4FD542F63A966F253937709FF7D1ABCB0C5EE
59     Info Hash:                                                         03-19-     Blacked   03-17-2020   04-17-2020   PA0002246171
       4027AF1421AE2D9BED00B53E01979BB89ADD9B1E                           2020       Raw
       File Hash:                                                         21:38:19
       90AB2E788BB710259D4A9DCFD9E2C65C0643D86AC847DAFA0BFED4550E27D3A6
60     Info Hash:                                                         03-15-     Blacked   03-12-2020   04-17-2020   PA0002246106
       BAFB46BF047FBA7FE3FF433BFC2B9DC3DAD3C1A9                           2020       Raw
       File Hash:                                                         01:13:12
       ABE2C85159B9C6CB9BF3A288E7EBB1E044B46ED260C1111A1C9BAE91E3919A19
61     Info Hash:                                                         03-10-     Blacked   03-07-2020   04-17-2020   PA0002246118
       14B10A509F9801CDB0F3A26FB468B879FA1052C7                           2020       Raw
       File Hash:                                                         04:25:29
       7111B20609AC2DDD76A51E9E2F4910F0DFD86179DD930790BD97963AE5C365E0
62     Info Hash:                                                         03-06-     Blacked   11-18-2019   12-09-2019   PA0002216261
       28D3A9EC7C6D3A6CA0C764EF6A4C9B3E0430CB8E                           2020       Raw
       File Hash:                                                         15:10:42
       1417D1E60436334A79D2822C80AED298E3266BFDD20924CF09A99BC161454E14
Work   Hashes                                                             UTC        Site      Published    Registered   Registration
63     Info Hash:                                                         02-27-     Blacked   02-26-2020   04-17-2020   PA0002252443
       DC81513178188050CBA5D91A57A21D656D24B4D8                           2020       Raw
       File Hash:                                                         04:33:03
       1E572E288E49BA877CD9C552F2E19C20D97F793476D4B0643BDBFF0C983862C8
64     Info Hash:                                                         02-17-     Blacked   02-13-2020   03-18-2020   PA0002241447
       4BC88CE75F516411A03F0D4908F70299E6EA5B8F                           2020       Raw
       File Hash:                                                         02:56:25
       113D6680B4E1CA5B0C7C2750EED2410FCAC42C43DBE8EDEB56D2D2FC4B3BA8DE
65     Info Hash:                                                         02-13-     Blacked   02-01-2020   03-15-2020   PA0002240553
       B79F9E34CBBC5643AB6229E80DA46055EFA9C921                           2020       Raw
       File Hash:                                                         03:48:00
       63213EA31A8F5231CA7E903028B97AEC1C8F73D827A5896091046CF55837ECA6
66     Info Hash:                                                         02-13-     Blacked   02-06-2020   02-20-2020   PA0002229053
       20DE99BEFC6C4017FC6CB07918E5351A42A26A12                           2020       Raw
       File Hash:                                                         02:30:07
       CFEC18AC0BD6D2F95320CD385D36743F978F3D57DF8E3D4962454802310669E0
67     Info Hash:                                                         02-13-     Vixen     02-08-2020   03-18-2020   PA0002241445
       D40E1D6B575B0F2EF6B61AC0FCF426C0244768C2                           2020
       File Hash:                                                         02:22:58
       A63DEB4026D01320B444D291CEA691B6251858B775B8EF41398A7A8A359AB00C
68     Info Hash:                                                         02-10-     Blacked   10-14-2019   11-05-2019   PA0002210289
       7DC31F64F10A5177DC11A0B36E4E52BDD9D6743E                           2020       Raw
       File Hash:                                                         02:36:08
       731763BED52FC0E38E82856DB997AEB34FE42070147E94E098EF60145CE647FA
69     Info Hash:                                                         02-10-     Blacked   03-18-2019   04-08-2019   PA0002164883
       CE74EDC69A9EE02D7EAEF30B9F3DC7A0FA93CA19                           2020       Raw
       File Hash:                                                         00:17:40
       AD6B67077E3A7384F427669028069434AC296F9CD332D65D172D09396AC3005B
70     Info Hash:                                                         01-28-     Blacked   01-27-2020   03-15-2020   PA0002240550
       AA4BE843A51F57F2C364C24DD5D7ECF2C647F652                           2020       Raw
       File Hash:                                                         04:21:59
       CEDD4C9C7B46CA14DA4782D089600800BF98E22C7C6E36116628A7F20EAE5A4C
71     Info Hash:                                                         01-27-     Blacked   01-22-2020   02-20-2020   PA0002229057
       8350274C85342B0099EBF03570ACE176BACA2773                           2020       Raw
       File Hash:                                                         06:13:21
       297042B335B3BF441F3731571CD0D499CFA0C13FD74EC643BE0CAFAB1C0E2A69
Work   Hashes                                                             UTC        Site      Published    Registered   Registration
72     Info Hash:                                                         01-21-     Blacked   01-17-2020   02-20-2020   PA0002229055
       DB497BED967866328C462CD1A231FA28CB64FD11                           2020       Raw
       File Hash:                                                         00:38:25
       FC1D827EB4C7B83CB646EB678BEE163F7DE809FF2F1AD43E7C3D7CADF1AF71BF
73     Info Hash:                                                         01-21-     Blacked   08-13-2019   08-22-2019   PA0002195504
       4B15FD06165A2EB0D090A8B729C9AF1FB7EC84C3                           2020
       File Hash:                                                         00:33:32
       FD99FFDCDA870EFE4F9FA4399116BE744D367F6274274B449546F067B01E4F2B
74     Info Hash:                                                         01-14-     Blacked   01-07-2020   02-03-2020   PA0002236198
       ED466871609E7DC2E85010617F35513AA9AEE67F                           2020       Raw
       File Hash:                                                         05:21:32
       FD9F72CE4EC2B71735568CB460069F5870A3B95E6BBF3A55F9F09066E09EBBA2
75     Info Hash:                                                         01-10-     Blacked   01-02-2020   02-04-2020   PA0002225581
       C4DB1B3F78C01434EC9B81231E2066634E6311CB                           2020       Raw
       File Hash:                                                         05:19:59
       BCF1D35246A971E1C03E3D9E86D3FE928722E4FE1FE37E94884D8A69C71036A6
76     Info Hash:                                                         01-10-     Blacked   01-07-2019   02-02-2019   PA0002155390
       59BBB32A1C085F460AAFB1329242C36691D072A1                           2020       Raw
       File Hash:                                                         04:50:09
       4EAF5419CA409C379D27B8AB3A4A07121E433977C9A6F7ACB185636117A544BE
77     Info Hash:                                                         01-10-     Blacked   12-31-2019   01-27-2020   PA0002223957
       1B02C5FD0BD43D66CA7F1862752B7D33093B13BA                           2020
       File Hash:                                                         04:24:03
       8633705E63B8E74B37A5E3E4D917CB9038CB87429F9687CD7E5A0D0887E468B4
78     Info Hash:                                                         12-29-     Blacked   12-08-2019   12-17-2019   PA0002217664
       2A235B5AC390943D91494754632D98DC21F91C61                           2019       Raw
       File Hash:                                                         01:34:35
       DA36FB64B2F44D21AEBA0C9894C59A022E7D8F5097E628388EF06C0BED7A6CA1
79     Info Hash:                                                         12-28-     Blacked   12-28-2019   01-27-2020   PA0002223954
       5269E9647358D2C0080970F7B91836FF0B134F73                           2019       Raw
       File Hash:                                                         23:18:27
       27FB0D30B36C136AFA8C6C21A0D532780A248DC9A46D86A04DB243DAA5069A62
80     Info Hash:                                                         12-25-     Blacked   12-13-2019   01-22-2020   PA0002234865
       2E7DB9DA1E12BC2963F7DC66AC300417AD983BC7                           2019       Raw
       File Hash:                                                         22:42:02
       358DA725020AF45E0B0CAE9E1D26EBE160E66995B1C4815EE09665B1B4F93BEF
Work   Hashes                                                             UTC        Site      Published    Registered   Registration
81     Info Hash:                                                         12-25-     Blacked   12-18-2019   02-03-2020   PA0002225563
       8030A2C2D9E0F5481E3C80D541551981755B92D6                           2019       Raw
       File Hash:                                                         22:35:08
       B464C3DB5D6D549844F1F473EEFE97D23D21947CC0099568B87EEB5B39E2427C
82     Info Hash:                                                         12-25-     Blacked   12-23-2019   01-03-2020   PA0002219636
       125E4AE88073EC84682575E13721B2EDE68BDFC4                           2019       Raw
       File Hash:                                                         19:59:34
       67816C28898202B47D1D4A9411EAB5A3102C4BAAE4C4F33CD0563DD1CE85DC3B
83     Info Hash:                                                         11-26-     Blacked   11-25-2019   12-09-2019   PA0002216263
       609925695807CF8D58C61A83C0667EBFACA3059B                           2019       Raw
       File Hash:                                                         15:27:15
       AA82A2D655EFAE26069B693C159D006EA3D308A84159E1F920E2BB80F6B5A1B8
84     Info Hash:                                                         11-14-     Blacked   06-19-2018   07-14-2018   PA0002130450
       D7D96219F75CB298E2C1029F953017860E5C1004                           2019
       File Hash:                                                         18:07:02
       BB58FBED18D81A3F0D14C271ADF4BE3A045E2E0C621BB5195F09A2908C189EF1
85     Info Hash:                                                         11-14-     Blacked   11-13-2019   11-27-2019   PA0002213997
       00D4C51A29C9BECB409301B771D686F17B05B89B                           2019       Raw
       File Hash:                                                         17:45:01
       2517AD4C9EBD5958B7B53277E98727CB70A48CAE5960B8795E50AD33A0666CBE
86     Info Hash:                                                         11-14-     Blacked   11-11-2019   11-27-2019   PA0002213994
       0075912858F26F4B9B02968E5B9913617E3F3830                           2019
       File Hash:                                                         17:42:04
       D19DE7E11241A54E88C807833D4C62AB0E74BF1D7C22D6D23A6E3AFBBFB0412C
87     Info Hash:                                                         11-08-     Blacked   10-09-2019   11-05-2019   PA0002210286
       DD7D9795E444F4A6C88F770090690E10B003073E                           2019       Raw
       File Hash:                                                         22:31:01
       7A54C431B03EF40343B74D55875C35757C5E8AB7D71DB14BA1EBC7282381C12B
88     Info Hash:                                                         11-08-     Blacked   08-25-2019   09-11-2019   PA0002199991
       973A870D555049DC68BB9A3D667902BFC69FBD3D                           2019       Raw
       File Hash:                                                         22:21:10
       F291E9A5D2284337B5F9CE58EF735849D834C5ACF9618C0F86C2564FA7B7F1B2
89     Info Hash:                                                         11-08-     Blacked   11-03-2019   11-27-2019   PA0002213995
       CDAC395CE8800993349925E75F02E08592BA8B26                           2019       Raw
       File Hash:                                                         05:05:50
       658E948CFDC15C66CB84492342B916A97F9E9FCA815F01B356FBF5632B4B75DF
Work   Hashes                                                             UTC        Site      Published    Registered   Registration
90     Info Hash:                                                         10-31-     Blacked   09-27-2019   10-07-2019   PA0002205468
       48CB4C30D04660582C75639C2DCC4DCAD30E4C38                           2019
       File Hash:                                                         01:12:11
       7076A3FC2E6C1EB640EB00D981D0B089F53A78229A26DFB02936B0078A9EE169
91     Info Hash:                                                         10-31-     Blacked   10-27-2019   11-15-2019   PA0002211841
       DCC7090F05EBD2DC37875FE1A13D14A36BD51D03                           2019
       File Hash:                                                         00:07:29
       3977D707F40DA75D1F88C1162CDBD02577ACD638784DA6945470FC3AC360AE53
92     Info Hash:                                                         10-31-     Blacked   10-24-2019   11-05-2019   PA0002210293
       12B7A3C14B3A7A4A9D2712008FA31DEE6CC1731E                           2019       Raw
       File Hash:                                                         00:04:59
       7560E11AD69B8634C114F0797C32BB5263371F69533CBDCE3F9E6DE3652ABC09
93     Info Hash:                                                         10-07-     Blacked   10-04-2019   10-21-2019   PA0002207780
       119DC446BEBFEDD1A5069582FD23FE358C78F4F9                           2019       Raw
       File Hash:                                                         04:01:27
       6555638278B9C75C49758E027A7AC0526022AC6D42C649E714356018AE21AA08
94     Info Hash:                                                         10-03-     Blacked   02-24-2019   03-31-2019   PA0002163974
       A01F9474807C40CD315CA9F91AE8FCD561A34CE3                           2019
       File Hash:                                                         15:28:50
       4B1F2F6888571330D0AA793464E26832F8FA53F471AF809BC2F94B69B1A455FB
95     Info Hash:                                                         10-01-     Tushy     09-28-2019   10-21-2019   PA0002207776
       AF5E9F5A7C0F50A3A0CCCA08C875B36921047704                           2019
       File Hash:                                                         00:10:51
       21CAD60EE506BBDED08963BA90DAE8F45CB680BDC66E1BB515F46060D4549B4C
96     Info Hash:                                                         09-30-     Blacked   09-29-2019   10-21-2019   PA0002207777
       A293C6DB6C2A564F2EBBF7F273138154D95D3C4C                           2019       Raw
       File Hash:                                                         23:57:05
       75CF2A35CD67E106DC2D5C349DA347EBE72F275E10C4A134CF140C2662694B79
97     Info Hash:                                                         09-26-     Blacked   09-24-2019   10-07-2019   PA0002205464
       3000CA5DB618894F3AE2C4F4EA9962D7268B229A                           2019       Raw
       File Hash:                                                         03:30:30
       E6C211C3E5285BF205B45A674A4CCD75A6773E497C15559E781D1B30CACA34DA
98     Info Hash:                                                         09-23-     Blacked   09-19-2019   09-25-2019   PA0002203162
       34FDB74CF0D5A9ED24C4C0A7632D7C5C0DD4A10B                           2019       Raw
       File Hash:                                                         01:58:34
       687957B63794780230326924D082C1F054B0ED0FA70D4891292F96B9B488985D
Work   Hashes                                                             UTC        Site      Published    Registered   Registration
99     Info Hash:                                                         09-15-     Blacked   09-14-2019   10-01-2019   PA0002217360
       17B1792C83AEBC91585F95157D74A5375A45D307                           2019       Raw
       File Hash:                                                         04:28:43
       A29E60835180E18203D9B7E6FB317C457E09F8B5BD30EA86E96ECF283140F5EE
100    Info Hash:                                                         09-12-     Blacked   09-09-2019   10-01-2019   PA0002217358
       EC432D8D71F5AB0CE83147F50B0873710BD1EC03                           2019       Raw
       File Hash:                                                         15:56:25
       D8B650B961312931C2DB40CEFBC8476D837B1DB948A7F9FDC5AD63147B42E960
101    Info Hash:                                                         09-05-     Blacked   08-20-2019   09-13-2019   PA0002200701
       94A9D2E22A9B4ACF81A5EC69EE4DCA10983CAF23                           2019       Raw
       File Hash:                                                         20:39:17
       8F6C453740B37D5E62E645F7B122857B20C711154CF03D4597B1C3C020D30F52
102    Info Hash:                                                         09-05-     Blacked   08-15-2019   09-17-2019   PA0002216211
       6C446C346678513AA2E73F07FB90B7112EBE707F                           2019       Raw
       File Hash:                                                         20:39:16
       249303FB0D18D0DC7C7EC04ADB7B8922578C4F9AF6A8CF6EE5DAE94EA3BFAD93
103    Info Hash:                                                         08-01-     Blacked   07-29-2019   09-11-2019   PA0002214887
       6BF27EB20DF3D1314583CFFC4C2EDAF57456DA3F                           2019
       File Hash:                                                         11:54:34
       B33C85A41CE7B8B0145A635645D039974B7A8552D267B9421DF9743946831473
104    Info Hash:                                                         07-28-     Blacked   07-26-2019   09-10-2019   PA0002199417
       DE77246EE34EE1CDD79ED93E2A72D390952AEDBA                           2019       Raw
       File Hash:                                                         22:28:08
       7A9703274C30670E88D5C893C87B8F218D90C72E0AE6635F0BFB38807695E4B7
105    Info Hash:                                                         07-16-     Blacked   07-09-2019   09-10-2019   PA0002199416
       82980AB876C2E0D6AD6D7D00937AD920F8211267                           2019
       File Hash:                                                         02:10:21
       EC0188942436E345833E4B637642A83B850471132EE8338BD89D3926B8E17343
106    Info Hash:                                                         07-12-     Blacked   07-11-2019   09-17-2019   PA0002216212
       6478D6818B6843DC1DEE5BD5A6C05F7B6D37EC2E                           2019       Raw
       File Hash:                                                         21:09:39
       B98513AE2490FF3F323AE1CC7F75EC58C20154B89A409B54083E456853E5E623
107    Info Hash:                                                         07-06-     Blacked   06-28-2019   08-27-2019   PA0002213235
       FD566995F3728DBE3CB9331DB4DDF9D40A8AB46C                           2019
       File Hash:                                                         00:40:43
       2B5903DE34F121905C56E7D0465FDD8249D61FE160D063D59B3046C23F738F9A
Work   Hashes                                                             UTC        Site      Published    Registered   Registration
108    Info Hash:                                                         07-06-     Blacked   07-01-2019   07-17-2019   PA0002188302
       4E9DC5664C79C201A2EA19FB2A7F778E148DB0AA                           2019       Raw
       File Hash:                                                         00:40:05
       73B715F6AC7F506A697AB7F43FE9BF94A157FCB2D43B47BF7A397FD3CA85AD99
109    Info Hash:                                                         06-27-     Blacked   06-26-2019   08-27-2019   PA0002213245
       23D0AD06AEDD268744FBB7251611A950CF96EE07                           2019       Raw
       File Hash:                                                         03:55:52
       67F22DA812B587FF698C66C7617D7E68CE07D1F126C9767B0E1836BC121340E9
110    Info Hash:                                                         06-22-     Blacked   06-21-2019   08-27-2019   PA0002213241
       5F75B9CECC4F3FEEA7CE46BEDA2B70A0BA267B19                           2019       Raw
       File Hash:                                                         12:51:17
       98CDC17BC4D0A858192F41FD54802AA61EC55EE5616632DC63F7F18150DC90BA
111    Info Hash:                                                         06-17-     Blacked   06-16-2019   07-17-2019   PA0002188314
       A72BE735D576B5D1698069C9E914BDF92FBB83F8                           2019       Raw
       File Hash:                                                         04:31:48
       779FA174AC0DAA367DA841F6900E0E1C57DC90C72808D0C74BC689BB30CA23FE
112    Info Hash:                                                         06-10-     Blacked   05-05-2019   07-05-2019   PA0002206372
       0FCD3137E1E1F83AC7FE87107CF672049DADE932                           2019
       File Hash:                                                         05:23:08
       A03CCBD66B6699030F19DC4A3BC7F4C13847AFD32B624A283E1BD42F60F4E1CC
113    Info Hash:                                                         06-10-     Blacked   09-09-2018   10-16-2018   PA0002127792
       69BA9C8EC6B3C2D9FB6CD545B85991237BC901C2                           2019       Raw
       File Hash:                                                         05:03:43
       F0C307D2A5574814D7D7F9FAA1622E84AC38804CFE1E666608F0B94488BC0211
114    Info Hash:                                                         06-10-     Blacked   10-19-2018   11-25-2018   PA0002136715
       95660919DA043BF36F6392C09C80D94D2F1CB43D                           2019       Raw
       File Hash:                                                         04:52:33
       4A54C614FE947EAB3532BA8F282B1C91456F68CCA152C9DE5E949413F4CDE226
115    Info Hash:                                                         06-10-     Blacked   07-11-2018   08-07-2018   PA0002131894
       8A9AB1F64463E581A779AAE573B6ACC9EF49BBD6                           2019       Raw
       File Hash:                                                         04:47:15
       F264D22475CAEB917C41AEAE49A25FF4DEF43A0EA5457CD6430336DC8A40DD78
116    Info Hash:                                                         06-07-     Blacked   02-01-2019   03-24-2019   PA0002183205
       AC7FA021B38E24D1B89250B1B963879739C88A06                           2019       Raw
       File Hash:                                                         04:26:28
       A0E2F22B61C2FE0C8FBF8EFF45988C31E2A5B695A6BDD4C07B061711F5009550
Work   Hashes                                                             UTC        Site      Published    Registered   Registration
117    Info Hash:                                                         06-07-     Blacked   06-01-2019   07-17-2019   PA0002188304
       A8A900F68D1470DE418DD2185447666C868F45CD                           2019       Raw
       File Hash:                                                         04:25:57
       4088203106C9904C556319D77A7C8FC3363F3842B21D17A0DDA94A76A6DD8FA6
118    Info Hash:                                                         06-07-     Blacked   06-06-2019   08-02-2019   PA0002192288
       FE27534F0A43907D070795DDF984F707E0FEDCF1                           2019       Raw
       File Hash:                                                         03:48:40
       2E2112D600A76F0B030C381DB306667268C759E220CEE041A5B523D6CB631DAA
119    Info Hash:                                                         06-01-     Blacked   05-17-2019   07-05-2019   PA0002206002
       C340030059AF08957371330E339FB3AA67E8FFDB                           2019       Raw
       File Hash:                                                         22:29:13
       6BA96B48297951EA5CD38799CC99EBF61F1A282C5634BBFF3688E1D6989D64C4
120    Info Hash:                                                         06-01-     Blacked   03-28-2019   05-28-2019   PA0002200777
       C20D8CE638A46CD39FA65004C565F7F85846691D                           2019       Raw
       File Hash:                                                         22:25:01
       EA5B48145CBAF733479368D9256BC9D6AA8EC5702C56014718B4A1CBA7E39563
121    Info Hash:                                                         06-01-     Blacked   04-30-2019   06-03-2019   PA0002178774
       F9B92290296A3DF4D4981A2EB881ECBD9591750C                           2019
       File Hash:                                                         22:24:43
       FB5B3789E4048125B9665266C55CBA91F9F4B53AFC0E29A6F9617CEDF5F9D963
122    Info Hash:                                                         05-30-     Blacked   05-12-2019   07-05-2019   PA0002206384
       8D1FD7C2EBE2FA88228601C874E3EBD31D2F524A                           2019       Raw
       File Hash:                                                         04:11:14
       1758B5DB51DD6950A5BD9225EBB5759AC48CB6E53BB6FB95F253886DA519BB1B
123    Info Hash:                                                         05-30-     Blacked   05-22-2019   07-17-2019   PA0002188299
       DDE59C875C7FEDB150E58E51ACFF8D33FDB2CF72                           2019       Raw
       File Hash:                                                         03:17:20
       B1EAEAD5B5D4AA4102D4A0D46CF8206B6D4E3C6E2EAD3BAFD1BD26D336683604
124    Info Hash:                                                         05-30-     Blacked   05-02-2019   05-28-2019   PA0002200769
       FB74770301183194E022950AB806F22711E1D882                           2019       Raw
       File Hash:                                                         02:17:07
       F46BFB163A513B7F3E12142FBD8465F06FA30094AA36D8A3EA740283856110EB
